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United States District Court
Southern District of New York                                    7:20-cv-08463

Tracey Jones, individually and on behalf of
all others similarly situated,
                                Plaintiff,

                  - against -                               Class Action Complaint

Orgain, LLC,
                                Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.     Orgain, LLC (“defendant”) manufactures, distributes, markets, labels and sells

vanilla high protein milk drinks purporting to be flavored only with vanilla under their Orgain

brand (“Product”).

       2.     The Products are available to consumers from retail and online stores of third-parties

and are sold in cartons of 11 OZ (330 mL).

       3.     The relevant front label representations include “Sweet Vanilla Bean Flavor” and

pictures of vanilla beans and the vanilla flower.
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        4.     The unqualified, prominent and conspicuous representation as “Sweet Vanilla Bean

Flavor” is false, deceptive and misleading because the Product contains trace or a de minimis

amount of vanilla from real vanilla beans from the vanilla plant, and the presence of vanillin and

other artificial flavors is not disclosed to consumers where they are expecting to see it on the front

of the Product.

        5.     According to recent industry reports, “Food companies are dropping artificial

flavors, coloring, preservatives and other additives with scary names and focusing more on natural,

wholesome and fresh ingredients.”1

        6.     Nielsen has reported that 62% of consumers say they try to avoid artificial flavors.2

        7.     New Hope Network concluded that “71% of consumers today are avoiding artificial

flavors.”3

        8.     Label Insight determined that 76% of consumers avoid artificial flavors.4

        9.     Consumers are seeking products which obtain their flavor from their characterizing

food ingredients, i.e., strawberry shortcake which gets is flavor from actual strawberries as

opposed to strawberry flavor synthesized from cherries.5

        10.    As “natural, organic and better-for-you trends proliferate, demand has flourished for

naturally sourced vanilla.”6

        11.    Manufacturers have responded, “by transitioning from artificial to natural

ingredients,” including “natural vanilla ingredients.”


1
  Jeff Daniels, Why your favorite foods may be getting new recipes, CNBC, September 19, 2016
2
  Nielsen, Reaching For Real Ingredients: Avoiding The Artificial, Sept. 6, 2016.
3
  Alex Smolokoff, Natural color and flavor trends in food and beverage, Natural Products Insider, Oct. 11, 2019.
4
  Thea Bourianne, Exploring today’s top ingredient trends and how they fit into our health-conscious world, March
26-28, 2018.
5
  David Andrews, Synthetic ingredients in Natural Flavors and Natural Flavors in Artificial flavors, Environmental
Working Group (EWG).
6
  Amanda Del Buono, Suppliers utilize cost-effective vanilla ingredient solutions, Beverage Industry (last updated
Oct. 14, 2016).


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         12.    Global climate disruptions resulting in natural disasters befalling the primary vanilla

producing country of Madagascar, have caused vanilla shortages.

         13.    This disruption in available vanilla has caused companies to cut corners when it

comes to using vanilla in their products.

         14.    Vanilla (Vanilla planifolia Andrews and Vanilla tahitenis Moore) comes from an

orchid plant that originated in Mexico where it was first cultivated.

         15.    The vanilla orchid produces a fruit pod, the vanilla bean, which is the raw material

for true vanilla flavorings.

         16.    The vanilla bean is not consumed by itself – it is heated in the sun for weeks until it

is placed in ethyl alcohol, where its flavor constituents are extracted in the solution (“vanilla

extract”). 21 C.F.R. § 169.175 (“Vanilla extract.”).

         17.    Vanilla’s unique flavor cannot be duplicated by science due to over 200 compounds

scientists have identified, including volatile constituents such as “acids, ethers, alcohols, acetals,

heterocyclics, phenolics, hydrocarbons, esters and carbonyls.”7

         18.    An example of the compounds which provide vanilla’s flavor are shown in table

below, identified through gas chromatography-mass spectrometry (“GC-MS”) of a sample of

Simply Organic Madagascar Vanilla Extract.




7
 Arun K. Sinha et al., “A comprehensive review on vanilla flavor: extraction, isolation and quantification of vanillin
and other constituents,” International Journal of Food Sciences and Nutrition 59.4 (2008): 299-326.


                                                          4
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       19.    While vanillin is the most abundant compound (MS Scan # 759, 77.4301 Peak Area

%), numerous other compounds contribute to vanilla’s taste in small amounts.

       20.    Methyl cinnamate (MS Scan # 751) and p-cresol (MS Scan # 415) provide cinnamon

and creamy flavor notes to vanilla.

       21.    Other compounds present in relatively significant amounts include acetovanillone,

cinnamyl alcohol, guiaicol, p-cresol, p-hydroxybenzoic acid, vanillic acid and vanillyl ethyl ether.

       22.    Consumers want the vanilla in vanilla flavored products to come from a real source,

i.e., from vanilla beans from the vanilla plant.



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           23.   In early 2018, in response to rampant misleading labeling of vanilla products, the

Flavor and Extract Manufacturers Association of the United States (“FEMA”), representing the

flavor industry, urged companies to truthfully label vanilla foods so consumers are not misled. See

John B. Hallagan and Joanna Drake, FEMA, “Labeling Vanilla Flavorings and Vanilla-Flavored

Foods in the U.S.,” Perfumer & Flavorist, Vol. 43 at p. 46, Apr. 25, 2018 (“Hallagan & Drake”).8

           24.   Unfortunately, companies adulterate their purported vanilla flavored products with

cheap synthetics and substitutes such as vanillin – a substance manufactured in factories from

synthetic and non-vanilla bean sources to reap even larger corporate profits from consumers.

           25.   The use of vanillin to boost the flavor of vanilla has existed since this molecule was

first isolated in the late 19th century.

           26.   The first efforts to prevent fraud in vanilla products were in the late 19th century by

the U.S. Pharmacopeia which required a specific weight of vanilla beans as the source for vanilla

extract.

           27.   During this time, government entities would often seize products which were labeled

as “vanilla” but were comprised of “coumarin, vanillin, and caramel.”9

           28.   Eventually, Congress directed the Food and Drug Administration (“FDA”) to

establish standards and rules to combat an economic problem: the marketing of foods from which

traditional constituents are removed or new or different (often cheaper and artificial) ingredients

are substituted.

           29.   One of these problems was fraudulent vanilla products, which contained little real

vanilla and mainly were flavored from vanillin.


8
  Hallagan and Drake, “There are many current examples of food products that are labeled as ‘vanilla’ that are clearly
mislabeled and therefore in violation of FDA regulations.”
9
  Notice of Judgment, Feb. 10, 1914, 2794. Adulteration of vanilla extract. U. S. v. One Barrel Vanilla. Decree of
condemnation by default. Product ordered sold.


                                                          6
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        30.     Vanilla has specific labeling requirements because it is uniquely vulnerable to being

adulterated, the most popular and one of most costly flavorings.

        31.     The regulations for vanilla labeling apply not only to vanilla products sold separately

for use in baking and cooking, but to products which designate their main, or characterizing flavor

as vanilla.

        32.     According to the flavor industry trade group, FEMA, where a product’s front label

representation is “Vanilla” without qualification, it “lead[s] consumers to believe that it is flavored

with vanilla extract, or another vanilla flavoring derived solely from vanilla beans, as defined in

the federal standard of identity when in fact it is not.10

        33.     Consumers are accustomed to products labeled “vanilla,” without any qualifiers such

as “flavored,” “artificial flavors” or “with other natural flavors,” to mean that the vanilla flavor

comes only from the ingredient of vanilla beans.

        34.     Consumers are entitled to know “whether the product [they are buying] is flavored

with a vanilla flavoring derived from vanilla beans, in whole or in part, or whether the food’s

vanilla flavor is provided by flavorings not derived from vanilla beans.”11

        35.     The vanilla standards have been in place for over fifty (50) years, and companies’

adherence to these regulations have benefitted consumers who otherwise would not be able to rely

on a product’s representations.

        36.     Regulations regarding vanilla effectively establish custom and practice in the

industry so that consumers’ experience with that custom and practice primes them to infer from a

product’s labeling whether the represented vanilla flavor is from the vanilla plant.


10
    John B. Hallagan and Joanna Drake, The Flavor and Extract Manufacturers Association of the United States
(“FEMA”), “Labeling Vanilla Flavorings and Vanilla-Flavored Foods in the U.S.,” Perfumer & Flavorist, Vol. 43 at
46, 54, Apr. 25, 2018 (“Hallagan & Drake”).
11
   Id.


                                                       7
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           37.   Based on the term “Sweet Vanilla Bean Flavor” and the absence of any qualifying

terms, consumers expect the Product’s vanilla taste to be only from vanilla beans, i.e., vanilla

extract.

           38.   This conclusion is consistent with consumer surveys indicating consumers

understand “vanilla” to refer to only vanilla flavor provided by vanilla beans, and not from non-

vanilla ingredients.

           39.   Likewise, consumers are aware that vanillin and other vanilla enhancing flavors are

artificial flavors when used to boost vanilla.

           40.   Nevertheless, the fine print ingredient listing of will not disclose to consumers that

(1) the amount of real vanilla in the Product is at most, de minimis and (2) the Product contains

artificial vanilla, viz, vanillin and artificial flavors maltol and piperonal, which provide

predominantly all of the vanilla taste.




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INGREDIENTS: FILTERED WATER, ORGAIN ORGANIC
PROTEIN BLEND (GRASS FED ORGANIC MILK PROTEIN
CONCENTRATE, ORGANIC WHEY PROTEIN CONCENTRATE),
ORGANIC CANE SUGAR, ORGANIC BROWN RICE SYRUP,
ORGANIC RICE DEXTRIN, ORGANIC HIGH OLEIC SUNFLOWER
OIL, ORGANIC NATURAL FLAVOR, ORGANIC INULIN, ORGAIN
VITAMIN & MINERALS BLEND (SODIUM ASCORBATE,
MAGNESIUM SULFATE, ZINC GLUCONATE, DL-ALPHA
TOCOPHERYL     ACETATE,   NIACINAMIDE,   VITAMIN    A
PALMITATE, POTASSIUM IODIDE, COPPER GLUCONATE, BIOTIN,
CALCIUM       D-PANTOTHENATE,       CYANOCOBALAMIN,
CHOLECALCIFEROL, FOLIC ACID, THIAMINE HYDROCHLORIDE,
PYRIDOXINE HYDROCHLORIDE, RIBOFLAVIN), ORGANIC RICE
BRAN EXTRACT, TRISODIUM PHOSPHATE, TRICALCIUM
PHOSPHATE, TRIPOTASSIUM CITRATE, GELLAN GUM,
POTASSIUM CHLORIDE, SEA SALT, ORGANIC LOCUST BEAN
GUM, ORGAIN ORGANIC FRUIT AND VEGETABLE BLEND
(ORGANIC APPLE FIBER, ORGANIC ACAI, ORGANIC BEET,
ORGANIC KALE, ORGANIC RASPBERRY, ORGANIC SPINACH,
ORGANIC TOMATO, ORGANIC BANANA, ORGANIC BLUEBERRY,
ORGANIC CARROT), NATURAL FLAVOR




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        41.    Listing “Organic Natural Flavor” and “Natural Flavor” means the Product’s vanilla

taste is not derived exclusively or even predominantly from vanilla sources because if it did, it

would only list “vanilla extract.”

        42.    Consumers will not realize that the amount of vanilla flavoring from real vanilla in

the Product is de minimis, compared to the amount of vanillin and artificial vanilla flavors.

        43.    The Product contains an abnormal excess of vanillin relative to the profile of minor

components in a vanilla preparation, which is a strong indicator it contains vanillin from non-

vanilla sources.

        44.    The Product contains maltol which the FDA lists as an artificial flavor. See 21 C.F.R.

§ 172.515(b) (“Synthetic flavoring substances and adjuvants.”).12

        45.    Though maltol is sometimes detected in vanilla extract levels between 0.004 and 0.01

PPM, its presence in the Product at levels greatly exceeding this range means it is added to the

“Natural Flavor.”

        46.    Maltol “can improve overall flavor, potentiate sweetness, increase the sensation of

creaminess” and has “a mild flavor and sweet caramel-like odor.”13

        47.    Maltol “can help to smooth authentic style vanilla bean flavors” at modest levels.14

        48.    The Product contains piperonal (heliotropine), an artificial flavor not found in

vanilla. See 21 C.F.R. § 172.515(b) (“Synthetic flavoring substances and adjuvants.”).15

        49.    Piperonal contributes “a sweet vanilla olfactory note as well as a sweet, aromatic,

vanilla, and benzaldehyde taste” and imparts “vanilla flavors to food and beverage products.”16



12
   21 C.F.R. § 172.515(b) (“Synthetic flavoring substances and adjuvants.”).
13
   Lisa Kobs, The Sweet Taste of Success – Part Two, Food Ingredients Online, 1998; Maltol, UL Prospector, Bryan
W Nash & Sons Ltd.
14
   John Wright, Flavor Bites: Maltol, Perfumer & Flavorist, June 2020.
15
   C. B. Gnadinger, "Piperonal in Vanilla Extract." Industrial & Engineering Chemistry 18.6 (1926): 588-589.
16
   Piperonal, Moellhausen S.p.A., UL Prospector.


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           50.   The flavors and amounts detected support the inferences and allegations that the bulk

of the Product’s vanilla taste is from artificial vanilla flavoring including vanillin, maltol and

piperonal.

           51.   According to FEMA, “vanillin is characterizing for vanilla and [that] the addition of

vanillin, whether derived from lignin or from other sources, must be clearly declared” as an

artificial flavor. 17

           52.   The Product's ingredient list is misleading because the “Natural Flavor” contains

vanillin from non-vanilla sources, which must be disclosed as an artificial flavor when paired with

vanilla. See 21 C.F.R. § 169.181(b) (“Vanilla-vanillin flavoring”) (requiring ingredient list to state

“‘contains vanillin, an artificial flavor (or flavoring).’”); Labeling Vanilla.

           53.   These requirements for disclosing vanillin exist because of its potency and because

it is not from vanilla beans.

           54.   The addition of vanillin to the Product requires the front label to state “artificially

flavored.” FDA Letter, Margaret-Hanna Emerick, FDA, to Richard Brownell, February 25, 2016;

See 21 C.F.R.101.22(i)(2).

           55.   By omitting “artificial flavor” or “artificially flavored” from the front label,

consumers are not told that the Product’s taste is not provided exclusively, or even predominantly,

by vanilla beans, but by artificial vanillin, maltol and piperonal.

           56.   By omitting “artificial flavor” from the ingredient list, consumers are unable to

“double check” the components of the Product.

           57.   The “vanilla” representation on the Product caused consumers, like Plaintiff, to

believe that the Product’s vanilla taste comes predominantly, if not exclusively, from vanilla.



17
     Hallagan and Drake.


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       58.    Consumers are accustomed to products labeled “vanilla,” without any qualifiers such

as “flavored,” “artificial flavors” or “with other natural flavors,” to mean that the vanilla flavor

comes only from vanilla.

       59.    The Product’s front label does not state “contains some vanilla” or “made with a drop

of vanilla,” but designates the characterizing flavor as “Vanilla” without qualifying terms and has

pictures of actual vanilla beans and the vanilla flower.

       60.    Plaintiff reasonably believed that the “vanilla” representation on the front label of

the Product meant that the vanilla flavor was from vanilla beans and not from non-vanilla sources.

       61.    Defendant knows consumers will pay more for the Product because the front label

only states “vanilla.”

       62.    Defendant’s omission and failure to disclose the artificial vanilla flavor on the front

label is deceptive and misleading to consumers.

       63.    Defendant’s branding and packaging of the Product is designed to – and does –

deceive, mislead, and defraud plaintiff and consumers.

       64.    Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

       65.    The value of the Product that plaintiff purchased and consumed was materially less

than its value as represented by defendant.

       66.    Had plaintiff and class members known the truth, they would not have bought the

Product or would have paid less for them.

       67.    As a result of the false and misleading labeling, the Product is an sold at a premium

price, approximately no less than $4.89 per 32 OZ, excluding tax, compared to other similar

products represented in a non-misleading way, and higher than the price of the Product if it were




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represented in a non-misleading way.

                                       Jurisdiction and Venue


        68.   Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2)

        69.   Under CAFA, district courts have “original federal jurisdiction over class actions

involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]” Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

        70.   Plaintiff Tracey Jones is a citizen of New York.

        71.   Defendant Orgain, LLC, is a California corporation with a principal place of business

in Irvine, Orange County, California and is a citizen of California and none of its members are

citizens of New York.

        72.   “Minimal diversity” exists because plaintiff Tracey Jones and defendant are citizens

of different states.

        73.   Upon information and belief, sales of the Product in New York exceed $5 million

per year, exclusive of interest and costs, and the aggregate amount in controversy exceeds $5

million per year.

        74.   Venue is proper in this judicial district because a substantial part of the events or

omissions giving rise to the claim occurred in this District, viz, the decision of plaintiff to purchase

the Product and the misleading representations and/or their recognition as such.

        75.   This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.




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                                                 Parties

       76.    Plaintiff Tracey Jones is a citizen of New York, Yonkers, Westchester County.

       77.    Defendant Orgain, LLC is a California limited liability company with a principal

place of business in Irvine, California, Travis County and is a citizen of California.

       78.    During the relevant statutes of limitations, plaintiff purchased the Product within her

district and/or State for personal and household consumption and/or use in reliance on the

representations of the Product.

       79.    Plaintiff Tracey Jones purchased the Product on numerous occasions including but

not limited to January and February 2020, at stores including Whole Foods Market, 1 Ridge Hill

Boulevard, Yonkers, NY 10710.

       80.    Plaintiff bought the Product at or exceeding the above-referenced price because she

liked the product for its intended use and relied upon the front label claims to expect its taste only

came from the identified front label ingredient of vanilla and that the vanilla taste was provided

exclusively and/or predominantly by vanilla beans from the vanilla plant.

       81.    Plaintiff was deceived by and relied upon the Product's deceptive labeling.

       82.    Plaintiff would not have purchased the Product in the absence of Defendant’s

misrepresentations and omissions.

       83.    The Product was worth less than what Plaintiff paid for it and she would not have

paid as much absent Defendant's false and misleading statements and omissions.

       84.    Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance that Product's labels are consistent with the Product’s components.




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                                          Class Allegations


        85.   The class will consist of all purchasers of the Product who reside in New York during

the applicable statutes of limitations.

        86.   Plaintiff seek class-wide injunctive relief based on Rule 23(b) in addition to a

monetary relief class.

        87.   Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.

        88.   Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

        89.   Plaintiff is an adequate representatives because her interests do not conflict with

other members.

        90.   No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

        91.   Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

        92.   Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

        93.   Plaintiff seeks class-wide injunctive relief because the practices continue.

                          New York General Business Law (“GBL”) §§ 349 & 350
                                     (Consumer Protection Statute)

        94.   Plaintiff incorporates by reference all preceding paragraphs.

        95.   Plaintiff and class members desired to purchase and consume products which were

as described and marketed by defendant and expected by reasonable consumers, given the product

type.


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       96.    Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       97.    Defendant     misrepresented     the    substantive,   quality,   compositional   and/or

organoleptic attributes of the Product.

       98.    The amount and proportion of the characterizing component, vanilla, has a material

bearing on price and consumer acceptance of the Product and consumers do not expect artificial

vanilla where a product’s flavor is designated “vanilla,” or sweet vanilla bean flavor, without more.

       99.    The ingredient list designations fails to tell consumers and plaintiff that the Product

contains added artificial flavors that contribute to the Product’s vanilla taste.

       100. The front label gives the impression the Product has more real vanilla than it does.

       101. Plaintiff relied on the statements, omissions and representations of defendant, and

defendant knew or should have known the falsity of same.

       102. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                          Negligent Misrepresentation

       103. Plaintiff incorporates by reference all preceding paragraphs.

       104. Defendant       misrepresented     the    substantive,   quality,   compositional   and/or

organoleptic attributes of the Product.

       105. The amount and proportion of the characterizing component, vanilla, has a material

bearing on price and consumer acceptance of the Product.

       106. The ingredient list designations fail to tell consumers and plaintiff that the Product

contains added artificial flavors that contribute to the Product’s vanilla taste.

       107. The front label gives the impression the Product has more real vanilla than it does




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and does not disclose the artificial vanilla flavors.

       108. Defendant had a duty to disclose the non-vanilla, artificial flavors and/or provide

non-deceptive marketing of the Product and knew or should have known same were false or

misleading.

       109. This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product type.

       110. The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in defendant, a well-known and respected brand or entity in this sector.

       111. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Product.

       112. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

              Breaches of Express Warranty, Implied Warranty of Merchantability and
                    Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       113. Plaintiff incorporates by reference all preceding paragraphs.

       114. The Product was manufactured, labeled and sold by defendant or at its express

directions and instructions, and warranted to plaintiff and class members that they possessed

substantive, quality, organoleptic, and/or compositional attributes it did not.

       115. Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       116. The amount and proportion of the characterizing component, vanilla, has a material

bearing on price and consumer acceptance of the Product

       117. The ingredient list designations fail to tell consumers and plaintiff that the Product



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contains added artificial flavors that contribute to the Product’s vanilla or sweet vanilla bean flavor

taste.

         118. The front label gives the impression the Product has more real vanilla than it does

and does not disclose the artificial vanilla flavors.

         119. This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

         120. Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

         121. Defendant received notice and should have been aware of these misrepresentations

due to numerous complaints by consumers to its main office over the past several years regarding

the Product, of the type described here.

         122. The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable.

         123. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                               Fraud


         124. Plaintiff incorporates by reference all preceding paragraphs.

         125. Defendant     misrepresented     the      substantive,   quality,   compositional   and/or

organoleptic attributes of the Product.

         126. The amount and proportion of the characterizing component, vanilla, has a material

bearing on price and consumer acceptance of the Product.

         127. The ingredient list designations fail to tell consumers and plaintiff that the Product

contains added artificial flavors that contribute to the Product’s vanilla taste.



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       128. The front label gives the impression the Product has more real vanilla than it does

and does not disclose the artificial vanilla flavors.

       129. Defendant’s fraudulent intent is evinced by its failure to accurately identify the

Product on the front label and ingredient list, when it knew its statements were neither true nor

accurate and misled consumers.

       130. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                           Unjust Enrichment

       131. Plaintiff incorporates by reference all preceding paragraphs.

       132. Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages and interest pursuant to the common law and other statutory

       claims;


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   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: October 9, 2020
                                                              Respectfully submitted,

                                                              Sheehan & Associates, P.C.
                                                              /s/Spencer Sheehan
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                                                              S.D.N.Y. # SS-2056




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United States District Court
Southern District of New York

Tracey Jones, individually and on behalf of all others similarly situated,


                                         Plaintiff,


         - against -


Orgain, LLC,


                                          Defendant




                                   Class Action Complaint



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                           Tel: (516) 303-0552
                           Fax: (516) 234-7800




Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: October 9, 2020
                                                                             /s/ Spencer Sheehan
                                                                              Spencer Sheehan
